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                    UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK


Vasek Pospisil, Nicholas Kyrgios,
Anastasia Rodionova, Nicole Melichar-
Martinez, Saisai Zheng, Sorana Cîrstea,
John-Patrick Smith, Noah Rubin, Aldila
Sutjiadi, Varvara Gracheva, Tennys
Sandgren, and Reilly Opelka, on behalf of
                                                 Case No. 1:25-cv-02207-MMG
themselves and all others similarly
situated,                                        ORAL ARGUMENT REQUESTED

-and-


                  The Professional Tennis
                  Players Association,,

v.

ATP Tour, Inc., WTA Tour, Inc.,
International Tennis Federation Ltd.,
and International Tennis Integrity
Agency Ltd.,

                  Defendants.




 DEFENDANT INTERNATIONAL TENNIS FEDERATION LTD.’S MOTION
                 TO COMPEL ARBITRATION

        Please take notice that, upon the accompanying memorandum in support of

this motion, Defendant International Tennis Federation, Ltd., by its undersigned

counsel, hereby moves this Court before the Honorable Margaret M. Garnett for an

order compelling arbitration of the claims in Plaintiffs’ Complaint (Dkt. No. 1)

against International Tennis Federation, Ltd. and staying those claims pending the

conclusion of the arbitration proceedings.



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Dated: May 20, 2025           Respectfully Submitted,

                              CLEARY GOTTLIEB STEEN & HAMILTON LLP


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